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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                    CASE NUMBER:


   MISS GLOBAL ORGANIZATION LLC , et al.                              8:17−cv−02223−DOC−KES
                                                    Plaintiff(s),

            v.
   SOKHUNTEA MAK , et al.
                                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                                  Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




   PLEASE TAKE NOTICE:

   The following problem(s) have been found with your electronically filed document:

   Date Filed:         7/29/2019
   Document Number(s):                 136, 137
   Title of Document(s):              MOTION to Vacate Order Dismissing Case
   ERROR(S) WITH DOCUMENT:

   Local Rule 11−8 Memorandum/brief exceeding 10 pages shall contain table of contents.

   Title page is missing.




   Other:

   Re doc no 137 − There is no Application/Order to seal document.
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                                                  Clerk, U.S. District Court

   Dated: July 30, 2019                           By: /s/ Lori Muraoka lori_muraoka@cacd.uscourts.gov
                                                     Deputy Clerk

   cc: Assigned District Judge and/or Magistrate Judge

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